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            DECLARATION OF

  I,                                  , hereby state the following:

       1.



       2.    I am an adult of sound mine. All statements in this declaration are based
             on my personal knowledge and are true and correct.

       3.    I am making this statement voluntarily and on my own initiative. I have
             not been promised, nor do I expect to receive, anything in exchange for my
             testimony and giving this statement. I have no expectation of any profit
             or reward and understand that there are those who may seek to harm me
             for what I say in this statement. I have not participated in any political
             process in the United States, have not supported any candidate for office
             in the United States, am not legally permitted to vote in the United
             States, and have never attempted to vote in the United States.

       4.    I want to alert the public and let the world know the truth about the
             corruption, manipulation, and lies being committed by a conspiracy of
             people and companies intent upon betraying the honest people of the
             United States and their legally constituted institutions and fundamental
             rights as citizens. This conspiracy began more than a decade ago in
             Venezuela and has spread to countries all over the world. It is a conspiracy
             to wrongfully gain and keep power and wealth. It involves political
             leaders, powerful companies, and other persons whose purpose is to gain
             and keep power by changing the free will of the people and subverting the
             proper course of governing.

       5.
                                                    Over the course of my career, I
             specialized in the marines



       6.    Due to my training in special operations and my extensive military and
             academic formations, I was selected for the national security guard detail
             of the President of Venezuela.




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          sophisticated electronic voting system that permitted the leaders of the
          Venezuelan government to manipulate the tabulation of votes for national
          and local elections and select the winner of those elections in order to gain
          and maintain their power.

     10. Importantly, I was a direct witness to the creation and operation of an
         electronic voting system in a conspiracy between a company known as
         Smartmatic and the leaders of conspiracy with the Venezuelan
         government. This conspiracy specifically involved President Hugo Chavez
         Frias, the person in charge of the National Electoral Council named Jorge
         Rodriguez, and principals, representatives, and personnel from
         Smartmatic which included                                          . The
         purpose of this conspiracy was to create and operate a voting system that
         could change the votes in elections from votes against persons running
         the Venezuelan government to votes in their favor in order to maintain
         control of the government.

     11. In mid-February of 2009, there was a national referendum to change the
         Constitution of Venezuela to end term limits for elected officials, including
         the President of Venezuela. The referendum passed. This permitted Hugo
         Chavez to be re-elected an unlimited number of times.

     12. After passage of the referendum, President Chavez instructed me to make
         arrangements for him to meet with Jorge Rodriguez, then President of the
         National Electoral Council, and three executives from Smartmatic.
         Among the three Smartmatic representatives were

                        President Chavez had multiple meetings with Rodriguez
          and the Smartmatic team at which I was present. In the first of four
          meetings, Jorge Rodriguez promoted the idea to create software that
          would manipulate elections. Chavez was very excited and made it clear
          that he would provide whatever Smartmatic needed. He wanted them
          immediately to create a voting system which would ensure that any time
          anything was going to be voted on the voting system would guarantee
          results that Chavez wanted. Chavez offered Smartmatic many
          inducements, including large sums of money, for Smartmatic to create or
          modify the voting system so that it would guarantee Chavez would win
          every election cycle. Smartmatic’s team agreed to create such a system
          and did so.

     13. I arranged and attended three more meetings between President Chavez
         and the representatives from Smartmatic at which details of the new

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         voting system were discussed and agreed upon. For each of these
         meetings, I communicated directly with                     on details of
         where and when to meet, where the participants would be picked up and
         delivered to the meetings, and what was to be accomplished. At these
         meetings, the participants called their project the “Chavez revolution.”
         From that point on, Chavez never lost any election. In fact, he was able
         to ensure wins for himself, his party, Congress persons and mayors from
         townships.

     14. Smartmatic’s electoral technology was called “Sistema de Gestión
         Electoral” (the “Electoral Management System”). Smartmatic was a
         pioneer in this area of computing systems. Their system provided for
         transmission of voting data over the internet to a computerized central
         tabulating center. The voting machines themselves had a digital display,
         fingerprint recognition feature to identify the voter, and printed out the
         voter’s ballot. The voter’s thumbprint was linked to a computerized record
         of that voter’s identity. Smartmatic created and operated the entire
         system.

     15. Chavez was most insistent that Smartmatic design the system in a way
         that the system could change the vote of each voter without being
         detected. He wanted the software itself to function in such a manner that
         if the voter were to place their thumb print or fingerprint on a scanner,
         then the thumbprint would be tied to a record of the voter’s name and
         identity as having voted, but that voter would not tracked to the changed
         vote. He made it clear that the system would have to be setup to not leave
         any evidence of the changed vote for a specific voter and that there would
         be no evidence to show and nothing to contradict that the name or the
         fingerprint or thumb print was going with a changed vote. Smartmatic
         agreed to create such a system and produced the software and hardware
         that accomplished that result for President Chavez.

     16. After the Smartmatic Electoral Management System was put in place, I
         closely observed several elections where the results were manipulated
         using Smartmatic software. One such election was in December 2006
         when Chavez was running against Rosales. Chavez won with a landslide
         over Manuel Rosales - a margin of nearly 6 million votes for Chavez versus
         3.7 million for Rosales.

     17. On April 14, 2013, I witnessed another Venezuelan national election in
         which the Smartmatic Electoral Management System was used to
         manipulate and change the results for the person to succeed Hugo Chávez

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         as President. In that election, Nicolás Maduro ran against Capriles
         Radonsky.

                      Inside that location was a control room in which there were
         multiple digital display screens – TV screens – for results of voting in each
         state in Venezuela. The actual voting results were fed into that room and
         onto the displays over an internet feed, which was connected to a
         sophisticated computer system created by Smartmatic. People in that
         room were able to see in “real time” whether the vote that came through
         the electronic voting system was in their favor or against them. If one
         looked at any particular screen, they could determine that the vote from
         any specific area or as a national total was going against either candidate.
         Persons controlling the vote tabulation computer had the ability to change
         the reporting of votes by moving votes from one candidate to another by
         using the Smartmatic software.

     18. By two o'clock in the afternoon on that election day Capriles Radonsky
         was ahead of Nicolás Maduro by two million votes. When Maduro and his
         supporters realized the size of Radonsky’s lead they were worried that
         they were in a crisis mode and would lose the election. The Smartmatic
         machines used for voting in each state were connected to the internet and
         reported their information over the internet to the Caracas control center
         in real-time. So, the decision was made to reset the entire system.
         Maduro’s and his supporters ordered the network controllers to take the
         internet itself offline in practically all parts in Venezuela and to change
         the results.

     19. It took the voting system operators approximately two hours to make the
         adjustments in the vote from Radonsky to Maduro. Then, when they
         turned the internet back on and the on-line reporting was up and running
         again, they checked each screen state by state to be certain where they
         could see that each vote was changed in favor of Nicholas Maduro. At that
         moment the Smartmatic system changed votes that were for Capriles
         Radonsky to Maduro. By the time the system operators finish, they had
         achieved a convincing, but narrow victory of 200,000 votes for Maduro.

     20. After Smartmatic created the voting system President Chavez wanted, he
         exported the software and system all over Latin America. It was sent to
         Bolivia, Nicaragua, Argentina, Ecuador, and Chile – countries that were
         in alliance with President Chavez. This was a group of leaders who
         wanted to be able to guarantee they maintained power in their countries.
         When Chavez died, Smartmatic was in a position of being the only

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         company that could guarantee results in Venezuelan elections for the
         party in power.

     21. I want to point out that the software and fundamental design of the
         electronic electoral system and software of Dominion and other election
         tabulating companies relies upon software that is a descendant of the
         Smartmatic Electoral Management System. In short, the Smartmatic
         software is in the DNA of every vote tabulating company’s software and
         system.

     22. Dominion is one of three major companies that tabulates votes in the
         United States. Dominion uses the same methods and fundamentally same
         software design for the storage, transfer and computation of voter
         identification data and voting data. Dominion and Smartmatic did
         business together. The software, hardware and system have the same
         fundamental flaws which allow multiple opportunities to corrupt the data
         and mask the process in a way that the average person cannot detect any
         fraud or manipulation. The fact that the voting machine displays a voting
         result that the voter intends and then prints out a paper ballot which
         reflects that change does not matter. It is the software that counts the
         digitized vote and reports the results. The software itself is the one that
         changes the information electronically to the result that the operator of
         the software and vote counting system intends to produce that counts.
         That’s how it is done. So the software, the software itself configures the
         vote and voting result -- changing the selection made by the voter. The
         software decides the result regardless of what the voter votes.

     23. All of the computer controlled voting tabulation is done in a closed
         environment so that the voter and any observer cannot detect what is
         taking place unless there is a malfunction or other event which causes the
         observer to question the process. I saw first-hand that the manipulation
         and changing of votes can be done in real-time at the secret counting
         center which existed in Caracas, Venezuela. For me it was something
         very surprising and disturbing. I was in awe because I had never been
         present to actually see it occur and I saw it happen. So, I learned first-
         hand that it doesn’t matter what the voter decides or what the paper
         ballot says. It’s the software operator and the software that decides what
         counts – not the voter.

     24. If one questions the reliability of my observations, they only have to read
         the words of
                                                                    a time period in

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           which Smartmatic had possession of all the votes and the voting, the votes
           themselves and the voting information at their disposition in Venezuela.

                     he was assuring that the voting system implemented or used
           by Smartmatic was completely secure, that it could not be compromised,
           was not able to be altered.

     25. But later, in 2017 when there were elections where Maduro was running
         and elections for legislators in Venezuela,           and Smartmatic broke
         their secrecy pact with the government of Venezuela. He made a public
         announcement through the media in which he stated that all the
         Smartmatic voting machines used during those elections were totally
         manipulated and they were manipulated by the electoral council of
         Venezuela back then.                stated that all of the votes for Nicholas
         Maduro and the other persons running for the legislature were
         manipulated and they actually had lost. So I think that's the greatest
         proof that the fraud can be carried out and will be denied by the software
         company that               admitted publicly that Smartmatic had created,
         used and still uses vote counting software that can be manipulated or
         altered.

     26. I am alarmed because of what is occurring in plain sight during this 2020
         election for President of the United States. The circumstances and events
         are eerily reminiscent of what happened with Smartmatic software
         electronically changing votes in the 2013 presidential election in
         Venezuela. What happened in the United States was that the vote
         counting was abruptly stopped in five states using Dominion software. At
         the time that vote counting was stopped, Donald Trump was significantly
         ahead in the votes. Then during the wee hours of the morning, when there
         was no voting occurring and the vote count reporting was off-line,
         something significantly changed. When the vote reporting resumed the
         very next morning there was a very pronounced change in voting in favor
         of the opposing candidate, Joe Biden.

     27.                                                  I have worked in gathering
           information, researching, and working with information technology.
           That's what I know how to do and the special knowledge that I have. Due
           to these recent election events, I contacted a number of reliable and
           intelligent ex-co-workers of mine that are still informants and work with
           the intelligence community. I asked for them to give me information that
           was up-to-date information in as far as how all these businesses are
           acting, what actions they are taking.

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   I declare under penalty of perjury that the foregoing is true and correct and that
this Declaration was prepared in Dallas County, State of Texas, and executed on
November 15, 2020.




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